Case 19-12971-JKS         Doc 28    Filed 04/26/19 Entered 04/27/19 12:49:20                 Desc Main
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Melissa N. Licker
McCalla Raymer Leibert Pierce, LLC
485F US Highway 1 S, Suite 300
Iselin, NJ 08830                                                        Order Filed on April 26, 2019 by
                                                                         Clerk U.S. Bankruptcy Court
Telephone: (732) 902-5399                                                   District of New Jersey
NJ_ECF_Notices@McCalla.com
Attorneys for Secured Creditor

                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY

In re:                                            Chapter 7

James Polite and                                  Case No. 19-12971-JKS
Cindy Rookard,
                                                  Hearing Date: April 16, 2019 at 10:00am

                                                  Judge: John K. Sherwood
                                   Debtors.

                          ORDER VACATING AUTOMATIC STAY

         The relief set forth on the following pages, number two (2) through two (2) is hereby

                                            ORDERED




 DATED: April 26, 2019
Case 19-12971-JKS         Doc 28    Filed 04/26/19 Entered 04/27/19 12:49:20              Desc Main
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Debtor:                   James Polite and Cindy Rookard
Case No.:                 19-12971-JKS
Caption of Order:         ORDER VACATING AUTOMATIC STAY

       THIS MATTER having been opened to the Court upon the Motion to Vacate Automatic Stay
filed by Nationstar Mortgage LLC d/b/a Mr. Cooper ("Movant") for an Order vacating the automatic
stay in effect pursuant to 11 U.S.C. § 362(a) and for good cause shown for the entry of this Order, it
is hereby ordered that:


   1. The automatic stay be and is hereby vacated under 11 U.S.C. § 362(d) to permit Movant, to
       institute or resume a mortgage foreclosure action in the Superior Court of New Jersey in
       order to pursue its rights in real property located at 901 Stelle Avenue, Plainfield, NJ 07060;
   2. Movant may join as defendants in said foreclosure action the Debtors and/or any trustee
       appointed in this case, irrespective of whether the Debtors' case converts to any other chapter
       of the Bankruptcy Code;
   3. Movant may pursue any and all loss mitigation options with respect to the Debtors or the real
       property described above, including but not limited to repayment agreement, loan
       modification, short sale or deed-in-lieu of foreclosure.
